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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

GABRIEL LUIS SANTOS,

             Petitioner,

v.                                                      Case No.: 2:20-cv-187-FtM-66NPM

UNITED STATES OF AMERICA,

               Respondent.
                                             /

                                             ORDER

        Before the Court is Petitioner Gabriel Luis Santos’s Amended Motion to

Vacate, Set Aside or Correct an Illegal Sentence Pursuant to 28 U.S.C. § 2255

docketed in the Fort Myers Division on June 29, 2020. 1 (Doc. 7). Petitioner

challenges his conviction and sentence in the corresponding criminal case heard by

this Court. See USA v. Gabriel Luis Santos, 2:18-cr-218-FtM-66NPM. Having

found that the Motion warrants a response, the Court directs the United States to

respond to the Motion.

        Accordingly, it is

        ORDERED:

        1. On or before February 2, 2021, the Government must file a

           response to the Motion, not to exceed 35 pages in length, and



1
 Under the “mailbox rule,” a prisoner’s motion is deemed filed on the date that he signed, executed,
and delivered his petition to prison authorities for mailing. Adams v. United States, 173 F.3d 1339,
1341 (11th Cir. 1999). Petitioner certifies he placed the motion in the prison mailing system on June
22, 2020.
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           demonstrate why the relief sought in the Motion should be denied.

           The response must address each ground raised in the Motion and

           include citations to controlling precedent, the record, or affidavits to

           demonstrate that Petitioner is not entitled to an evidentiary

           hearing or otherwise is not entitled to relief.            The response must:

               a. state whether Petitioner has used any other available
                  federal remedies including any prior post-conviction
                  motions and, if so, whether an evidentiary hearing was
                  accorded to the movant in any federal court;

               b. obtain transcripts and/or narrative summaries in
                  accordance with Rule 5(b) of the Rules Governing Section
                  2255 Cases in the United States District Courts and file
                  them concurrently with the initial response, but no later
                  than thirty days after the filing of the initial response;

               c. summarize the results of any direct appellate relief
                  sought by Petitioner and include citation references and
                  copies of appellant and appellee briefs from every
                  appellate proceeding; 2 and

               d. explain—in detail—whether the motion was filed within
                  the one-year limitation period per 28 U.S.C. § 2255. If
                  Respondent concludes that the motion was not filed
                  within the period, a limited response may be filed
                  attaching only those parts of the record necessary to
                  support the conclusion that the motion was not timely
                  filed.




2 The Government must also indicate whether each claim was raised on direct appeal. If any claim
was not raised on direct appeal, the Government must state whether it waives the defense concerning
the failure to raise the claim on direct appeal. See Cross v. United States, 893 F.2d 1287, 1289 (11th
Cir. 1990). If any claim was raised on direct appeal, the Government must indicate whether it waives
the defense concerning the re-litigation of claims that were previously raised and disposed of on direct
appeal. See United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir. 1981).




                                                   2
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        2. Petitioner, although not required to do so, may file a reply to the

           response on or before March 2, 2020. Any reply brief may not

           exceed ten pages in length.

        3. In the future, Petitioner must mail one copy of every pleading,

           exhibit and/or correspondence, along with a certificate of service

           indicating the date an accurate copy was mailed, to the Assistant

           U.S. Attorney assigned to this case and listed on the docket.

        DONE AND ORDERED in Fort Myers, Florida this 2nd day of November

2020.




SA: FTMP-2
Copies: All Parties of Record




                                            3
